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            UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

RONALD MCPHERSON,

     Plaintiff,
v.                                           Case No. 4:19cv156-MW/CAS

THE FLORIDA DEPARTMENT OF
CORRECTIONS, et al.,

      Defendants.
__________________________________/

 ORDER DENYING DEFENDANT CENTURION OF FLORIDA, LLC’S
             MOTION TO STAY DISCOVERY

     This Court has considered, without hearing, Defendant Centurion of

Florida, LLC’s (“Centurion”) Motion to Stay Discovery, ECF No. 26. In the

motion, Centurion requests discovery directed to it be stayed during the

pendency of Centurion’s motion to dismiss, ECF No. 24. This Court denied

Centurion’s motion to dismiss. ECF No. 58. Accordingly, Centurion’s Motion to

Stay Discovery, ECF No. 26, is DENIED as moot.

     SO ORDERED on September 24, 2019.

                                   s/Mark E. Walker
                                   Chief United States District Judge
